
45 So. 3d 1028 (2010)
In re Trenton John OUBRE.
No. 2010-B-2122.
Supreme Court of Louisiana.
October 15, 2010.

ATTORNEY DISCIPLINARY PROCEEDINGS
PER CURIAM.[*]
The Office of Disciplinary Counsel ("ODC") commenced an investigation into allegations that respondent, one of five members of the management committee of the law firm of Breazeale, Sachse &amp; Wilson, LLP, failed to properly supervise a nonlawyer employee to whom was delegated the responsibility of firm operations, including the content of the firm's website. It was subsequently discovered that the website contained false, deceptive, and misleading information about former Louisiana Governor Murphy J. "Mike" Foster, Jr., in that the website suggested or implied Governor Foster was a member of the firm, a governmental relations specialist, and a partner when in fact the former governor is not now nor has he ever been a licensed Louisiana attorney. Prior to the filing of formal charges, respondent and the ODC submitted a joint petition for consent discipline, in which the parties stipulated that respondent's conduct violated Rule 5.3 (failure to supervise a nonlawyer assistant) of the Rules of Professional Conduct.[1] Having reviewed the petition,
IT IS ORDERED that the Petition for Consent Discipline be accepted and that Trenton John Oubre, Louisiana Bar Roll number 20999, be publicly reprimanded.
IT IS FURTHER ORDERED that all costs and expenses in the matter are assessed against respondent in accordance with Supreme Court Rule XIX, § 10.1, with legal interest to commence thirty days from the date of finality of this court's judgment until paid.
NOTES
[*]  Chief Justice Kimball not participating in the opinion.
[1]  Identical petitions for consent discipline were filed by each member of the management committee, and in opinions rendered this date, we have accepted those petitions.

